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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


 ASHAWAN W. BANNISTER,

                Plaintiff,                                CIVIL ACTION NO.: 4:19-cv-266

         v.

 CHATHAM COUNTY SHERIFF
 DEPARTMENT and SUMMITT FOOD
 SERVICE,

                Defendant.


                                           ORDER

        After a careful de novo review of the entire record, the Court concurs with the Magistrate

Judge’s September 4, 2020, Report and Recommendation, (doc. 7), to which Plaintiff has not filed

objections. Accordingly, the Court ADOPTS the Report and Recommendation, (doc. 7). As a

result, plaintiff’s complaint is DISMISSED. The Court DIRECTS the Clerk of Court to CLOSE

this case.

        SO ORDERED, this 19th day of October, 2020.




                                      R. STAN BAKER
                                      UNITED STATES DISTRICT JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
